Case 8:19-cv-00710-MSS-TGW Document 66 Filed 10/30/19 Page 1 of 2 PagelD 1118

UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
TAMPA DIVISION

UMG RECORDINGS, INC.,, et al.,

 

Plaintiff,
Vv. CASE NO. 8:19-cv-710-T-35TGW
BRIGHT HOUSE
NETWORKS, LLC,
Defendant.
/
ORDER

THIS CAUSE came on for consideration upon Defendant
Bright House Networks, LLC’s Motion to Compel Discovery (Doc. 64). The
motion does not comply with Local Rule 3.04(a), which provides that:

A motion to compel discovery pursuant to Rule 36
or Rule 37, Fed. R. Civ. P., shall include quotation
in full of each interrogatory... or request for
production to which the motion is addressed; each
of which shall be followed immediately by
quotation in full of the objection and grounds
therefor as stated by the opposing
party...immediately followed by a statement of the
reason the motion should be granted.

The import of this rule is that the objections and reasons why a document
request should be ordered should follow each request for production. This

procedure facilitates the court’s resolution of the motion, especially in this
Case 8:19-cv-00710-MSS-TGW Document 66 Filed 10/30/19 Page 2 of 2 PagelD 1119

circumstance where there are numerous disputed discovery requests.

Additionally, the court notes that the requests for all documents
“refer[ring] to” or “reflect[ing]” a subject matter (see Doc. 64, pp. 6, 7) are,
on their face, overbroad, as they literally require the opposing party to
examine all of their documentation. Furthermoie, a request for documents
that “concern” a subject matter (see, e.g., id. at p. 15) is vague, as the scope
of the request is unclear,

It is, therefore, upon consideration,

ORDERED:

That the Defendant Bright House Networks, LLC’s Motion to
Compel Discovery (Doc. 64) be, and the same is hereby, DENIED without
prejudice,

DONE and ORDERED at Tampa, Florida, this 30a of

THOMAS G. WILSON
UNITED STATES MAGISTRATE JUDGE

Dect, 2019.

=

 
